                        united states district court
                    for the western district of virginia

                                    Charlottesville Division


 Manuel Yat-Sacul,

             Plaintiff,

       v.
                                                               Case No.: 3:19-cv-3
 Williams Tree Service, LLC,
 and Gregory T. Williams,

             Defendants




                                 Dismissal With Prejudice

   No party having filed an answer or a motion for summary judgment, Plaintiff hereby
dismisses this matter with prejudice. See Fed. R. Civ. P. 41(a)(1)(A)(i).



Respectfully submitted,


/s/ Nicholas Cooper Marritz                                       Date: February 22, 2019
Nicholas Cooper Marritz (VA Bar No. 89795)
legal aid justice center
6066 Leesburg Pike, Suite 520
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Counsel for Plaintiff Manuel Yat-Sacul




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                                     Certificate of Service

I certify that I filed this Dismissal with Prejudice via the Court’s CM/ECF system, which will
cause all counsel of record to be served with a notice of electronic filing and a link to the
document. I also mailed a copy to each Defendant at their addresses below today via U.S. Mail.

       Williams Tree Service, LLC
       Gregory T. Williams, Registered Agent
       309 Ben Venue Rd.
       Flint Hill, Va. 22627

       Gregory T. Williams
       309 Ben Venue Rd.
       Flint Hill, Va. 22627

Respectfully submitted,


/s/ Nicholas Cooper Marritz                                       Date: February 22, 2019
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